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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


In re                                         Chapter 11
                                              Case No. 01-01139 JKF
W.R. Grace & Co., et al                       (Jointly Administered)

              Debtors.

 STIPULATION OF AUTHENTICITY AND REGULAR BUSINESS RECORD NATURE
 WITH RESPECT TO CERTAIN LIABILITY POLICIES ISSUED TO THE DEBTORS
               AND CERTAIN SETTLEMENT AGREEMENTS

              The undersigned parties to the above-captioned bankruptcy case, having met and

conferred, hereby stipulate and agree, for the purposes of ~i~i~ bankruptcy case only, that the

following documents are authentic, that they accurately represent certain terms and conditions of

certain policies of insurance issued to W.R: Grace & Co., et al. (the "Debtors") by Certain

Insurers (defined below) or their predecessors in interest, and certain settlement agreements

pertaining to certain policies, and that these documents are regular business records, not subject

to hearsay objections pursuant to Rules 803 or 804 of the Federal Rules of Evidence, but

potentiallyare subjecttoobjectionspursuantto Rules 40~1~ ~4~3-3 of the Federal Rules of

Evidence.


              This Stipulation is being entered into only for the purposes of this~ [~ ~

bankruptcy case, and may not be used by any party or person for any other purpose.


               "Certain Insurers" include: (a) OneBeacon America Insurance Company, as

successor in interest to American Employers’ Insurance Company, Employers’ Commercial

Union Insurance Company, Employers’ Commercial Union Insurance Company of America, and

Commercial Union Insurance Company ("OneBeacon"); (b) Seaton Insurance Company, as

successor in interest to Unigard Mutual Insurance Company and Unigard Security Insurance
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Company ("Seaton"); (c) Government Employees Insurance Company ("GEICO"); and (d)

Republic Insurance Company, now known as Starr Indemnity & Liability Company

("Republic").


                The undersigned parties stipulate to the authenticity and regular business record

nature of the following documents:


                                      The Uni~ard Policy

                1.     Attached hereto as Exhibit 1 is a true and correct copy of Seaton Policy

No. 1-2517, issued to Debtors by Unigard Mutual Insurance Company for the period 6/30/74 to

6/30/75.


                                      The GEICO Policies

                2.     Attached hereto as Exhibit 2 is a true and correct copy of GEICO Policy

No. GXU 30031, issued to Debtors by Government Employees Insurance Company for the

period 6/30/81 to 6/30/82.


                3.     Attached hereto as Exhibit 3 is a true and correct copy of GEICO Policy

No. GXU 30152, issued to Debtors by Government Employees Insurance Company for the

period 6/30/82 to 6/30/83.


                4.     Attached hereto as Exhibit 4 is a true and correct copy of GEICO Policy

No. GXO 30267, issued to Debtors by Government Employees Insurance Company for the

period 6/30/83 to 6/30/84.




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                                   The Republic Policies

             5.      Attached hereto as Exhibit 5 is a true and correct copy of Republic Policy

No. CDE 749, issued to Debtors by Republic Insurance Company for the period 6/30/83 to

6/30/84.


             6.      Attached hereto as Exhibit 6 is a true and correct copy of Republic Policy

No. CDE 750, issued to Debtors by Republic Insurance Company for the period 6/30/83 to

6/30/84.


                                  The Underlying Policies

             7.      Attached hereto as Exhibit 7 is a true and correct copy of London Policy

No. 79 DD 1633C (also referenced as Cover Note No. PY107779), issued to Debtors by Certain

London Market Insurance Companies for the period 6/30/79.to 6/30/82, as furnished to and kept

by GEICO and/or by the Debtors in the regular course of business, certain terms of which may

be incorporated by reference into GEICO Policy No. GXU 30031 (Ex. 2).


             8.      Attached hereto as Exhibit 8 is a true and correct copy of London Policy

No. KYO 17582, issued to Debtors by Certain London Market Insurance Companies for the

period 6/30/82 to 6/30/85, as furnished to and kept by Republic and/or by the Debtors in the

regular course of business, certain terms of which may be incorporated by reference into GEICO

Policy No. GXU 30152 (Ex. 3), GEICO Policy No. GXU 30267 (Ex. 4), Republic Policy No.

CDE 749 (Ex. 5), and/or Republic Policy No. (Ex. 6).




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                       The Commercial Union Settlement Agreements

             9.      Attached hereto as Exhibit 9 is a tree and correct copy of the Settlement

Agreement entered into by W.R. Grace & Co., W.R. Grace & Co.-Conn., Commercial Union

Insurance Company, and American Employers’ Insurance Company, effective May 10, 1993.


              10. Attached hereto as Exhibit 10 is a true and correct copy of the Settlement

Agreement and Release entered into by W.R. Grace & Co.-Conn., W.R. Grace & Co.-Del., W.R.

Grace & Co. (a New York corporation), and Commercial Union Insurance Company, effective

December 17, 1996,


             11. Attached hereto as Exhibit 11 is a true and correct copy of the Settlement

Agreement and Release entered into by W.R. Grace & Co. and Commercial Union Insurance

Company, effective October 7, 1998.


                                   The Unigard Settlement Agreements


             12. Attached hereto as Exhibit 12 is a true and correct copy of the Settlement

Agreement, Release and Indemnification/Hold Harmless Agreement entered into by W.R. Grace

& Co.-Conn. and Unigard Security Insurance Company, effective August 6, 1992.


             13. Attached hereto as Exhibit 13 is a true and correct copy of the Settlement

Agreement, Release and Indemnification/Hold Harmless Agreement entered into by W.R. Grace

& Co.-Conn., W.R. Grace & Co., and Unigard Security Insurance Company, effective May 15,

1995.


             14. Attached hereto as Exhibit 14 is a true and correct copy of the Settlement

Agreement, Release and Indemnification/Hold Harmless Agreement entered into by W.R. Grace
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& Co.-Conn., W.R. Grace & Co., and Unigard Security Insurance Company, effective July 1 i,

1996.


             15. Attached hereto as Exhibit 15 is a true and correct copy of the Settlement

Agreement and Release entered into by W.R. Grace & Co. (a Delaware corporation), W.R. Grace

& Co. (a New York corporation), W.R. Grace & Co. (a Connecticut corporation), mad Unigard

Security Insurance Company, effective March 5, 1997.


             IT IS SO STIPULATED.


Dated: Jnne Iq, 2009


                                                Drinker Biddle & Reath LLP
                                                1100 N. Market Street
                                                Wilmington, DE 19801 - 1254

                                                Michael F. Brown, Esquire
                                                Jeffrey M. Boerger, Esquire
                                                Drinker Biddle & Reath LLP
                                                One Logan Square
                                                18th & Cherry Streets
                                                Philadelphia, PA 19103-6996

                                                Counsel for OneBeacon America Insurance
                                                Company, Seaton Insurance Company,
                                                Government Employees Insurance
                                                Company, and Republic Insurance
                                                Company




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             IT IS SO STIPULATED.


Dated: June __, 2009

                                             Lisa Esayian, Esquire
                                             Kirkland & Ellis LLP
                                             300 North LaSalle
                                             Chicago, IL 60654

                                             Janet S. Baer, Esquire
                                             The Law Offices of Janet S. Baer P.C.
                                             70 W. Madison St., Suite 2100
                                             Chicago, IL 60602

                                             Laura Davis Jones, Esquire
                                             David W. Carickhoff, Jr., Esquire
                                             Pachulski, Stang, Ziehl, Young Jones
                                              & Weintraub
                                             919 North Market Street, 16th Floor
                                             Wilmington, DE 19899-8705

                                             Counsel for the DebtorJ
                                             W.R. Grace & Co.; et al.




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            IT IS SO STIPULATED.


Dated: June ~ 2009
                                          Elihu Inselbuch, Esquire
                                          Caplin & Drysdale, Chartered
                                          375 Park Avenue, 35th Floor
                                          New York, NY 10152

                                          Peter Van N. Lockwood, Esquire
                                          Nathan D. Finch, Esquire
                                          Caplin & Drysdale, Chartered
                                          One Thomas Circle NW, Suite 1100
                                          Washington, DC 20005

                                          Robert Horkovich, Esquire
                                          Robert Chung, Esquire
                                          Anderson Kill & Olick, P.C.
                                          1251 Avenue of the Americas
                                          New York, NY 10020-1182

                                          Marla Eskin, Esquire
                                          Mark Hurford, Esquire
                                          Campbell & Levine, LLC
                                          800 N. King Street, #300
                                          Wilmington, DE 19801-3549

                                          Counsel for the Official Committee of
                                          Asbestos Personal Injury Claimants




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             IT IS SO STIPULATED.


Dated: Juneg-z, 2009
                                           ~quire

                                            Jonathan Guy, Esquire
                                            Orrick, Herrington & Sutcliffe LLP
                                            Columbia Center
                                            1152 15t~ Street NW
                                            Washington, DC 20005-1706

                                            John C. Phillips, Jr., Esquire
                                            Phillips, Goldman & Spence, P.A.
                                            1200 North Broom Street
                                            Wilmington, DE 19806

                                            Counsel for DavM T. Austern, Asbestos
                                            PI Future Claimants’ Re~bresentative




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             IT IS SO STIPULATED.


Dated: June __, 2009
                                           Philip Bentley, Esquire
                                           Douglas H. Mannal, Esquire
                                           David E. Blabey, Jr., Esquire
                                           Kramer Levin Naftalis & Frankel
                                           1177 Avenue of the Americas
                                           New York, NY 10036

                                           Teresa K.D. Currier, Esquire
                                           Buchanan Ingersoll & Rooney PC
                                           1000 West Street, Suite 1410
                                           Wilmington, DE 19801

                                           Counsel for the Official Committee of
                                           Equity Security Holders




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